EXHIBIT 2
                          TINITED STATES DISTRICT COURT

                            MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION


I-IARRY RYDER,Individually and on         )   case No. 8:09-cv-2059-T-2?Tcw
Behalf of All Others Similarly Situated, )
                                         )
                       Plaintiff,        )
       vs.                               )
                                         )
DIVERSIFIED AMBULANCE                    )
BILLII\TG, LLC and DIVERSIFIED           )
AMBULAÀICE BILLTNG          -            )
SOUTHEAST,INC.,                          )
                                         )
                       Defendants.       )
                                         )




            AFFTDAVTT OF ERIC LTE, ESQUIRE FILED ON BEHALF               Of
               LEE & ÁMTZIS, p.L. IN SUÞpOnr OF APPLICATION


       BEFORE ME, the undersigned authority personally, appeared, Eric Lee, Esquire,

who, upon oath, states:

       l.     My name is Eric Lee.

       2.     I am over ttventy-one years of age, and am fully competent to ittake,the
stateme¡ts contained in this Affidavit.

       3.     I   am the managing member of the firm    of Lee & Amtzis, p.L. I    am
 submitt¡ng this declaration in support of counsel's applicatio¡r fbr an arvard of attorneys,

 fees and expenses in connection rvith services renderecl in the above-entitled
                                                                                action.

        4.      This finn scrved as one of plaintiff's counsel in this case.

        5.      l'he identifìcation and backgrouncl of rny fìnn and its partners is attachecl

 hereto as Exhibit A.

        6.      The total number of hours spent on this litigation by my firm is 32.g. The

 total lodestar amount for attorney'þaraprofessional time based on the firm's
                                                                              current rates
 is $18'952.00. The hourly rates reflected in the attached exhibit are the usual
                                                                                          ancl

customary rates charged in all class action cases. A breakdorvn of the
                                                                       lodestar is attached

hereto as   Dxhibit B.

       Exccutect   ttr¡s   llh   day of January. 201l, at




STATE OF FLORIDA       )                       ss:
COUNTY OF PALM BEACT.I )

        BEF'ORE ME, the undersigned authority, personally appeared Eric Lee rvho.
upon first being duly sworn. deposes anct says thai he has read thc ioregoing
                                                                              ancl the samc
are true and correct. I{e is personally knou,n to me.



                                                                 BLIC
                                                     Printed
                                                     My Comm
EXHIBIT A
                                   LEB & AMTZIS, P.L.
         Lee   &  Anitzis, P.L. (the "Firm') is a fimr that concentrates in business litigation,
 bankruptcy, and class action litlgation. The Firm represents individuals,and b¡siness eitities
 nationrvíde in,'business related disputes and complex titigation. including matteß involving the
 federal securiiies larvs, state consumer proteciion laws, copyright in-fringemçnt, tradeñrark
 infringement, federal racketeering laws, ànd other business r"taie¿ matteis. The Fir,¡n has
 obtained numerous multi-million dollar settlemer¡ts for clients, including settlements in excess
                                                                                                  of
 $10 million.

 ERIC LEE

          Mr. Lee is the managing member of the Firm. Mr. Lee attended Rutgers University and
  graduated from the University of South Florida with a B.A. in criminology
                                                                                [rvith honor$. ,f¿t.
  Lee, graduated magna cun laucle fiom Nova Southeastern Unirersity Scfrãätìf
                                                                                     law and served
  as the business editor of the Nova Lew Revíeu,. Mr. Lee is licensed to practiae in
                                                                                         the stute of
  Florida, the United States District Courrs for ûe Southern District of Florìda,
                                                                                  l{iddle District of
 Florida, Southern District of Texas and the Northern District of Texas; Mi. Lee is also a¿linitted
 to appear before,the Eleventh Circuit Court of Appeals, the Fifth Circuit Court of,Appeals; and
 the United States Suprgme Court. Mr: Lee is a Pásì President of the Broward County Chapter
                                                                                                   of
 the Federal Bar Association. Mr. Lee is Board Cerlified in Business Litigation Uy ttre n"iiJ"
 Bar. He is a direct descendent of veterans of the American Revolutionary Ûar and rhe Civil \Var
 and is a member of Sons of theAmerican Rerrolution. In addition to hanâing numerous jur5, and
'non-jury trials, Mr. Lee has also argued cases before the Ftorida Supreñre Court, gleventh
 Circuit Court of Appeals, Fourth District Court of Appeal, and Second District Court of Appeal.

        A substantial portion of Mr. Lee's pracfice is devoted to representing indivjduals and
entíties in connection with losses suffered because of unfair practicËs by insurance companies
and other businesses. lvfr. Lee has ser.ved as co-counsel in cäses against some of the naüon's
largest insurance companies, challenging the various unlair pru"ii.*r. Mr. Lee has besn
appointed as lead:class counsel in numerous matters, including actions i¡ rvhich t5e settlements
obtained for class members have exceeded $10 million.

                                  LEADERSTilP POSTTTONS

       Peter F. lu[erkle, M.D., P.Å., Jeremy s. Hleínberger, MD., p-A., and Miclnel canníng,
M.D., P.A., r,. Yista Healiltplan, hrc., case No. I0-gß47:cIV-MoRENo (co-lead counsel)

       Jeremy S. lfeînberger, M.D., JereÌily S. Lfeinberger, M.D., p.A. and Ferer
                                                                               F. Merkle,
fuLD., P.A. v. Aetna Health,    Irc.,   Case   No.   06-2A2A}-CIV-MORENO/TORRES (Go-leaá
counsel)

       Peter Ir. Merkle, M.D., P.¿1. t. Ncíghborhood Health Partnershíp, /irc., Case No.
502005C40045   I 6XXXX MB(AB) (CoJeait counset)


        Rohert Snee, et al v, Sutu'ise Propefties, et al, lJnited States District Court Southem
Districtof Florida, Case No. 06.806141feãd Counsel)
        Jctson J. Ílammett v. State Farm Florida Inxu'ance Co., Seventcenth Judicial Ci¡cuir
 Court, Brorvard County, Florida, Case Na 06-01531 (Lead Counsel)

       J.9rge luI. Olíveit:a and Uraniu M. AJívsira V. Tousa Homes, Inc, dlb/a Engle
 HomeslSouthwest Florida, United States District Court Southem District of Florida" Case Ño.
 05-80475 (Lead Counsel)

        Heinz Bonde, derivalively on bshalf of The Singing Ìþíachine Company, Inc. y. Edu,arcl
 Steele, Johtt F. Klecha, Jaclc S. Dromgold,
                                           April J. Green, Josef A. Baucr, Hotvurd ll/. Moare,
 Robert J, Weinberg, and Salberg & Company, P.A., and The Singing Machine Company, Inc.,
 Nomínal Defendant, United States District Court Southem District-of Florida, Case No. 03-
 61386 (Lead DerÍvative Counsel)

       Salvatare D. Larusso¡ D.C., cilb/a'Family Chiropractic CenÍer y. l(sliç¡1¡1tide tVutual
Insurance Contpany, United Stales District Court Southem District of Florida, CaseNo. 0l-Bl0g
(Lead Counsel)

       Salvqtore D. Larus,re, D.C., cl/b/a Fantíly Chíropt'sctic Center v. Lìberty Ìultu¿nl
Innu'anee Company and Conununity Care Network, hrc., dlb/s Cetr, United.statés District
Court So.uther¡ District of Florida, CaseNo: 00-7692 (Lead Counsel)

      Dr. Andreu, Ellowitz t. Ånerícan Internatíonal Insv.ance Conlpany, ¡I.I(J Insurunce
Coutpany, American Home Assurance Conpan¡1 and American International South Insu.ance
Company, United States District Court Southern District of Florida, Case No. 0l-8549 (Lead
Counsel)

       The Chiropt'aclic Cenn'e, Inc. I/. luletropolitan Casualty Innu.ance Company, eI al.,
United States District Court Southern District of Florida" Case No. 0l-6783 (Lead Cóuniel)

      Salvstore D. Larusso, D,C., d.b.a Famîl¡, Chiropractic Center v. Hartforcl Insuronce
Coytpany of The l,Iicltpest, ¡{a¡!furd Casually htsurance Company, Hartford Accident ancl
Indemnily Comparyr, Hartþrd Undenvríters Insurance Company, i.rvin Cíty Fire Insm.ance
Campany, Hartþrd htsurance Conrymzy af the Southeast, Ånd llartfard Fire htstrance
Company, United States District Court Soutllern Distrist of Florida, Case No. 0l-8lll (Lead
Counsel)

       Msrc J. BrorçneL D.C. v. Allstate Indemnity Company, el a/., United States District Court
Southern District of Florida, Case No.00-7163 (Lead Counsel)

       Ultra Open MRI Corporation v. Deerbrook htsurance Contpanlt, United States District
Court Southem District of Florida, Case No. 00-6777 (Lead Counsgl)


       Keith Bríckell, D,C.   t, Progtessiue Evpress Insm'ance Company, et al., United States
District Court southen¡ District of Florida, caseNo. 00-6649 (Lead'Counsel)

       UIn'a Open l,lRI Corporalion, et al. y. Prudential Property and Casually Insm-ance
Conrpany, U¡ited States District Court Southem Disrrict of Florida" Case No. 0l-6778 (Leatl
Counsel)
        Uln'a Open MRI Corp. v. Integon National Insurance Contputry, and httegon Genereil
                                                                                  0l-6780
Insm'ance Conpany, United States District Court Southern Dïstrict of Florida, Case No.
(Lead Counsel)

        Solvatore D. Larusso, D.C. v. Florída Farm Burear, United States District Court
Southem District of Florida, CaseNo. Case No. 0l-81      l0 (Lead Counsel)

        Chrístopher Neilsott v-       ¡lT&T Carp., Seventeenth Judicial Circuit Court, Biorvard
County, Florida, Case No. 02012037 (Co-Lead Counsel)

       Corey Paige v. Jordan Publíshing Corp; el al., Seventeenth Judicial Circuit Court,
Brorvard County, Florida, Case No. 05-17020.09 (Co-Lead Counsel)

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Â &.R Inlern., Ittc. v. ìu[anzen, LLC,
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Otntss Ortak Nokta {Jluslarat'asi ÍIaberlestne Sistem.S¿n'is Bilgísayar lazilim Danismanlik ve
Dis Ticaret Limíted Sirketiv. Ternúnal kcltang* LLC,
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All Fanily Clinic of Da¡,¡pna Beach Ina. v. Sfate Farm Mut. Auto. Ins. Co.,
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 Grffin lT Media, hrc. v. htellígentz Corp.,
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ÅdyancePCS v. Bauer,
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Álan, Sean, and Koule, Inc. v. SYlCorsts V,
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Natíottvide l¡[ut. Ins. Co. t. Jewell,
862 So.2d 79 (Fla.2d DC4,2003)

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Leutet. Henutphilia of the Sun.shíne State, Inc.,
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lfalco Invesments, Inc. v. Thenen,
947 F. Supp.49l (S.D. Fla. 1996)
lfialco Investments, Inc. v. Thenen,
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651 So. 2d   l27t   (Fla. 4th DCA l99S)
EXHIBIT B
                         Diversified Ambulance
                         LEE & AMTZIS, P.L.
                            LODESTAR




                            HOURLY
NAIì¡E A}'ID STATUS              RATE                    LODESTAR

Eric Lee - Partner           $595.00             31.60   $18,802.00
Zlva Allen - Paralegal       $125.00              1.20     $150.00
                                                              $0.00
                                                              $0"00
                                                             s0.00
                                                             s0.00
                                                             s0.00
                                                             s0.00
                                                             s0.00
                                                             50.00
                                                             90.00
                                                             s0.00

                         TOTAL                   32.80   $18,952.00
